OTDM PWN

NNO NO NN KN RK RRR RR RP RP Re
BRwWNRK TO WAN DAN FP WNK OC CO

Case 1:18-cv-10933-RA Document 71 Filed 05/13/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Manuel P. Asensio, individually and as the parent
of Eva Asensio, a minor child, Defendants.

F Plaintiffs,

-against-
Janet DiFiore, Chief Judge of New York State; 18-CV-10933
Barbara Underwood, Attorney General of New .
R.A., Justice

York State Andrew M. Cuomo, Governor of New
York State; Adetokunbo O. Fasanya, New York

County Family Court Magistrate; and Emilie JURY TRIAL DEMANDED
Marie Bosak, individually,

 

 

PLAINTIFF’S OPPOSITION TO DISMISS
AFFIDAVIT OF PLAINTIFF DEFENDANT DIFIORE LYING AND
COLLUDING WITH HER DEPUTIES TO PROTECT EFENDANT

FASANYA

The Plaintiff, Manuel P. Asensio, files this affidavit to show proofs that Defendant
DiFiore, and her deputy, Judge Fern Fischer, and the two New York state supervising
judges, Douglas E. Hoffman and Karen Lupuloff, deliberately and intentionally lied
to the Plaintiff by claiming that the Appellate Division for the First Department
(“AD”) would handle Defendant Fasanya’s deliberate and malicious acts that he took
in clear absence of subject matter and personal jurisdiction through normal channels
of appellate practice.

Defendant Fasanya’s actions were his unilateral fabrication of jurisdiction that did not
exist in any state law text for the sole purpose of colluding with Carmen Restivo to
fabricate fee orders against the Plaintiff, and to collude with Defendant Bosak to
fabricate evidence, charges, and records, to make fraudulent calendaring decisions,
and to scream and yell and threaten, and giving directives to his court guards, to
prevent the Plaintiff and his counsel from being heard while he orchestrated
exchanges between himself and Defendant Bosak, and Carmen Restivo who
Defendant Fasanya unilaterally ordered to work for him and Defendant Bosak without
the Plaintiff's consent and without authority or jurisdiction.

Exhibit | is the letter from Defendant DiFiore, and Judges Fern Fischer, Douglas E.
Hoffman and Karen Lupuloff. Exhibit 2 are the AD’s orders summarily dismissing
without review or consideration the Plaintiff's prayer’s request of stays and leave to
appeal from the orders Defendant Fasanya fabricated from May 15, 2014 when the
Plaintiff withdrew and commenced his actions against Defendant Fasanya onward.

Page 1 of 2
Onn D On BP WN

NO NO NO KR RR RR RS RS eS Re
NO rR OO ON HNN FPWN KR CO

NONNNNN WN
OMmOAIN MN fH W

 

Case 1:18-cv-10933-RA Document 71 Filed 05/13/19 Page 2 of 2

Exhibit 3 are the AD orders summarily dismissing without review or consideration
the Plaintiffs full briefs and motions requesting leave to appeal and Original
Proceedings concerning Defendant Fasanya’s deliberate and malicious acts in clear
absence of subject matter and personal jurisdiction without any reason or purpose.
Exhibit 4 are the Court of Appeals’summary denials of motions for leave to appeal
that in the Matter of Sean X, the Court of Appeals The Court of Appeals restates the
rule that denial of a motion for leave to appeal is not equivalent to an affirmance and
has no precedential value (see, e.g., Matter of Marchant v. Mead-Morrison Mfg. Co.,
252 N.Y. 284, 297-298, 169 N.E. 386 [Cardozo, Ch. J.]; Matter of Whelan v. Griffin,
63 N.Y.2d 650, 479 N.Y.S.2d 522, 468 N.E.2d 704). Matter of Sean X., 473 N.E.2d
40, 40, 483 N.Y.S.2d 688, 688, 63 N.Y.2d 943, 943 (N.Y.,1984)

The Plaintiff also separate created a record of administrative complaints against
Defendant Fasanya with Janet DiFiore, Chief Judge of New York State; Barbara
Underwood, Attorney General of New York State Andrew M. Cuomo, Governor of
New York State. Exhibit 5, 6 and 7 contains examples of this documentary evidence.

I, Manuel P. Asensio, solemnly swear under the pain and penalty of perjury that all
statements made in this affidavit are true and complete to the best of my knowledge.

I further swear that as to any matters stated upon personal information and belief that
I have considered all facts, factors and circumstances entitled of consideration and

believe these to be true.
I Ly So swear: nll
VE

Manuel P. Asensio

Page 2 of 2
